         Case 3:15-cr-30032-MGM Document 108 Filed 10/24/17 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

____________________________________
                                    |
                                    |
United States of America            |
                                    |
v.                                  |
                                    |                CRIMINAL NO. 15-CR-30032-MGM
Rita Luthra                         |
                                    |
Defendant.                          |
____________________________________|

    UNOPPOSED MOTION TO CONTINUE THE TRIAL DATE AND FOR STATUS
                   CONFERENCE WITH THE COURT

       Now comes the defendant, Rita Luthra, M.D., (“Dr. Luthra”) and respectfully requests

this Honorable Court to continue the date currently scheduled for trial in the above-captioned

matter (Dec. 4, 2017) to another date agreeable to the parties and the Court.

       As grounds for this request Dr. Luthra states that:

   (1) She intends to move pursuant to Federal Rule of Criminal Procedure 12 to dismiss the

        superseding indictment in this matter on several grounds. There is no schedule set for

        the filing of Dr. Luthra’s intended Rule 12 motion. Given the multiple bases Dr. Luthra

        will be relying on in her intended Rule 12 motion, and the concomitant time it will take

        to prepare such a lengthy motion, a trial date of December 4, 2017 will not give Dr.

        Luthra sufficient time to both prepare her Rule 12 motion and simultaneously prepare for

        trial.

   (2) Dr. Luthra’s motion for discovery of the government’s legal instructions to both of the

        grand juries that have sat in this case is currently pending before the Magistrate Judge.

        The outcome of Dr. Luthra’s request for discovery of the legal instructions is directly
          Case 3:15-cr-30032-MGM Document 108 Filed 10/24/17 Page 2 of 3



          relevant to multiple bases of her intended Rule 12 motion. Should the Magistrate Judge

          rule against Dr. Luthra in any respect, and should Dr. Luthra decide to appeal such a

          ruling to the Court, that appeal would necessarily further push back the preparation, and

          filing date, of Dr. Luthra’s Rule 12 motion.

    (3) The government’s motion to exclude time from consideration under the Speedy Trial Act

          is also pending before the Magistrate Judge. The outcome of this motion is also relevant

          to the preparation and timing of Dr. Luthra’s intended Rule 12 motion, particularly if Dr.

          Luthra were to appeal any adverse ruling by the Magistrate Judge on the motion.

    (4) Dr. Luthra is requesting this continuance of the trial date in order to adequately prepare

          her defense to the allegations in the superseding indictment, and to adequately prepare

          for trial as well.

       Dr. Luthra also requests a status conference with the Court, at the Court and the parties’

convenience, regarding the schedule for filing dates regarding Dr. Luthra’s anticipated Rule 12

motion.

       Counsel for Dr. Luthra has conferred with the United States Attorney’s Office regarding

this motion, and AUSA Miranda Hooker has informed counsel for Dr. Luthra that the

government does not oppose Dr. Luthra’s request to continue the trial date.

                                                         Respectfully submitted,

                                                         RITA LUTHRA, M.D.
                                                         By her attorney,

                                                         s/ Stephen E. Spelman
                                                         Stephen E. Spelman (BBO #632089)
                                                         12 Wellington Drive
                                                         East Longmeadow, Mass. 01028
                                                         (413) 530-4316
       Dated: October 24, 2017                           s.e.spelman@gmail.com




	                                                 2
         Case 3:15-cr-30032-MGM Document 108 Filed 10/24/17 Page 3 of 3



                                     CERTIFICATE OF SERVICE

        I certify that the foregoing document, filed through the ECF system, will be sent
electronically to the registered participants as identified in the Notice of Electronic Filing (NEF),
on this 24th day of October, 2017.

                                                      s/ Stephen E. Spelman
                                                      Stephen E. Spelman




	                                                 3
